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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
                               CAMDEN VICINAGE

JAIME ARANA DEL TORO,                   :      CIV. NO. 20-1977 (RMB)
                                        :
                   Petitioner           :
     v.                                 :      MEMORANDUM AND ORDER
                                        :
                                        :
D. ORTIZ, Warden,                       :
                                        :
                   Respondent           :

     Petitioner Jaime Arana Del Toro, a prisoner confined in the

Federal Correctional Institution in Fort Dix, New Jersey, alleges

a due process violation in a prison disciplinary hearing that

resulted in his loss of good conduct time in a petition for writ

of habeas corpus under 28 U.S.C. § 2241. Petitioner failed to pay

the $5 filing, pursuant to 28 U.S.C. § 1914(a), or alternatively

submit a properly application to proceed without prepayment of

fees (“in forma pauperis” or “IFP”), pursuant to 28 U.S.C. §

1915(a)(2). Petitioner’s IFP application lacks the statutorily

required   copy    of   his    inmate       trust   account,   certified     by   the

appropriate       prison      official.        Therefore,      the   Court        will

administratively terminate this action, pursuant to Local Rule

54.3(a), which requires payment or waiver of the filing fee before

a case is opened. Petitioner also requested additional time to

file a memorandum of law. Petitioner may file his memorandum of

law with his filing fee or IFP application.

     IT IS on this 9th day of July 2020,

     ORDERED that the Clerk of the Court shall administratively
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terminate this case without filing the petition; Petitioner is

informed that administrative termination is not a “dismissal”; and

it is further

     ORDERED that the Clerk of the Court shall send Petitioner a

blank   form    “Affidavit   of   Poverty   and   Certification    (HABEAS

CORPUS)” DNJ-Pro Se-007-B-(Rev. 09/09); and it is further

     ORDERED that if Petitioner wishes to reopen this case, he

shall so notify the Court, in writing addressed to the Clerk of

the Court, Mitchell H. Cohen Building & U.S. Courthouse, 4th &

Cooper Streets, Room 1050, Camden, NJ 08101, within 30 days of the

date of entry of this Order; Petitioner’s writing shall include

either (1) a complete, signed in forma pauperis application or (2)

the $5.00 filing fee; and it is further

     ORDERED that upon receipt of such writing from Petitioner

within the time allotted by this Court, the Clerk of the Court

will be directed to reopen this case; and it is finally

     ORDERED that the Clerk of the Court shall serve a copy of

this Order upon Petitioner by regular U.S. mail.



                                   s/Renée Marie Bumb
                                   RENÉE MARIE BUMB
                                   United States District Judge



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